Case 5:19-cv-02311-JWH-ADS Document 15 Filed 06/08/20 Page 1 of 1 Page ID #:184




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No.: 5:19-02311 JLS (ADS)                                  Date: June 8, 2020 ____
 Title: Aaron Alan Falls v. Alyssa Vernal, et al.                                      ____


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                None Reported
                Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
               None Present                                     None Present

 Proceedings: (IN CHAMBERS) ORDER GRANTING PLAINTIFF’S MOTION
              FOR AN EXTENSION OF TIME

        On May 24, 2020, Plaintiff Aaron Alan Falls constructively filed a Motion to
 Request Time to file an amended complaint (“Motion for Extension of Time”). [Dkt. No.
 14]. Plaintiff requests an additional thirty (30) days to file an amended complaint,
 which is presently due May 28, 2020, due to limited inmate programming, including
 limited access to the law library, as a result of precautions to prevent spread of COVID-
 19. [Dkt. No. 14].

        Good cause being shown, Plaintiff’s Motion for Extension of Time is GRANTED.
 Plaintiff must file an amended complaint by no later than June 29, 2020.

        IT IS SO ORDERED.




                                                                        Initials of Clerk kh




 CV-90 (03/15) – ALL                Civil Minutes – General                          Page 1 of 1
